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6
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9    Facsimile: 202-625-7001
     stevan@aplegal.com
10

11   Attorneys for Plaintiff
     Mohammad Mukati
12

13                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16   MOHAMMAD MUKATI, an individual,             Case No. 3:17-cv-07093

17                 Plaintiff,
                                                 VERIFIED COMPLAINT
18          v.
19   JOHN DOE,
     0123movies.co,
20   123bmovies.com,
     123fmovies.ac,
21   123fmovies.io,
     123fmovies.org,
22   123gostream.co,
     123gostream.com,
23   123gostream.net,
     123gostream.org,
24   123movies.bz,
     123movies.co,
25   123movies.eu,
     123-movies.org,
26   123movies.plus,
     123movies.sx,
27   123-movies.tv,
     123movies.uno,
28   123movies9.com,
     Case No. 3:17-cv-07093                                         VERIFIED COMPLAINT
         Case 4:17-cv-07093-YGR Document 1 Filed 12/13/17 Page 2 of 40


     123moviesfreez.co,
1    123movies-hd.com,
     123movies-hd.net,
2    123movies-hd.org,
     123movies-hd.tv,
3    123movieson.co,
     123movieson.net,
4    123moviespro.co,
     123moviespro.me,
5    123moviespro.net,
     123moviestv.com,
6    123projectfreetv.com,
     123putlocker.co,
7    123putlockers.co,
     123series.co,
8    123torrent.co,
     123watch.co,
9    123watch.life,
     123watch.tv,
10   1movie.co,
     200shirts.com,
11   2movies.co,
     4simplicity.com,
12   7figureboys.com,
     7figureboyz.com,
13   9anime.cc,
     9anime.pro,
14   9anime.ws,
     abcmovies.co,
15   abdulmukati.com,
     acsrtx.org,
16   adsgur.com,
     africanhairbraidingsanantonio.com,
17   africanhairsanantonio.com,
     alistelitestyling.com,
18   allmyvideos.co,
     alluc.info,
19   alluc1.com,
     alphametaalphaspin.com,
20   alphaspinalphameta.com,
     amcoresecurity.com,
21   amcoresecuritygroup.com,
     amcseries.com,
22   amctickets.com,
     amukati.com,
23   anime9.co,
     animestreams.co,
24   anywhererepairs.com,
     apleno.com,
25   asmukati.com,
     backlinkpro.com,
26   bivifinder.com,
     bmovies.la,
27   bmovies.one,
     bmovies.plus,
28   bmoviesfree.co,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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     bmoviess.org,
1    bollywoodb.com,
     braidingsanantonio.com,
2    brattygal.com,
     brothersfurnituresa.com,
3    buyhighprlinkseo.com,
     carlglebo.com,
4    carteretlocalfood.org,
     cdtibp.com,
5    cedarsa.com,
     cineblog.co,
6    clovertowoocommerce.com,
     cmovies.co,
7    cmovieshd.org,
     coinhive.co,
8    cokeandpopcorn.co,
     collegeconfirmed.com,
9    companyseoservice.com,
     coordinatingyourevent.com,
10   cornertheweb.com,
     couchtuner.info,
11   couchtuner.online,
     couchtuner2.com,
12   ctidcnova.com,
     curebymarijuana.com,
13   customhomessa.com,
     cxmovies.co,
14   dayt-se.com,
     dealsbf.com,
15   democracy2017.com,
     democracy2018.com,
16   democracy2019.com,
     dentalpracticearlington.com,
17   doctern.com,
     docternclinic.com,
18   docternclinic.org,
     doodlesdigital.com,
19   downvideo.co,
     drama17.com,
20   dramaget.com,
     dramanice.co,
21   dramapo.com,
     dreadlockssanantonio.com,
22   drmukati.com,
     drschaudhry.com,
23   drsuhailchaudhry.com,
     duelship.com,
24   dvdindustries.com,
     eflixtv.co,
25   eflixtv.net,
     epifilm.com,
26   eventcobra.com,
     ewatchseries.co,
27   ewatchseries.org,
     exactnetworth.com,
28   fabulousnailsalon.com,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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     famereport.com,
1    fbvideo.co,
     filenuke.co,
2    fimrcutsa.com,
     fmlipsticks.com,
3    fmovies.biz,
     f-movies.co,
4    fmovies.tube,
     fmovies.ws,
5    fmovies9.co,
     fmovies9.com,
6    fmovies9.net,
     fmovies9.org,
7    fmoviestv.com,
     followleads.com,
8    freebizwebsite.com,
     freehdmovies.co,
9    frenchseries.com,
     fullmovie9.com,
10   fullmovies.tv,
     fulltimetrainer.com,
11   giftcrab.com,
     gmovies.co,
12   gomovies.co,
     gomoviesgo.com,
13   gomoviesto.co,
     gorillavid.co,
14   goseries.co,
     gostream.ag,
15   go-stream.co,
     gostream.guru,
16   go-stream.org,
     go-stream.tv,
17   gostream2.co,
     gostream2.com,
18   gostream2.net,
     gostream9.com,
19   gostreamfree.co,
     gostreamfree.com,
20   gostreamfree.net,
     gostreamfree.org,
21   gostreamhd.co,
     gostreams.co,
22   gostreams.org,
     hairbraidingsanantonio.com,
23   haput.com,
     harambeglass.com,
24   hassassination.com,
     hd2stream.com,
25   hdonline.info,
     hijabigals.com,
26   homebuildersa.com,
     homeconstructionsa.com,
27   hostnes.com,
     icouchtuner.co,
28   imovies.co,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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         Case 4:17-cv-07093-YGR Document 1 Filed 12/13/17 Page 5 of 40


     instasage.com,
1    iphonerepairfast.com,
     ironicfarooqi.com,
2    isputlocker.co,
     isputlocker.net,
3    isputlocker.org,
     jaboz.com,
4    jiblr.com,
     kagza.com,
5    keepvideo.co,
     kingsalu.com,
6    kingsaluminium.com,
     kingsofthrones.com,
7    kissanime.ag,
     kissanime.online,
8    kissanime9.com,
     kitchenremodelsa.com,
9    kitevape.com,
     kitevs.com,
10   ktafricanhair.com,
     lgor.com,
11   lowcus.com,
     managehosts.com,
12   mangafox.org,
     martialartsinchina.com,
13   megashare.ag,
     megashare.online,
14   megashare1.com,
     megashare6.com,
15   megashare9.bz,
     megashare9.co,
16   megashare9.us,
     megasharetvshows.com,
17   mehransa.com,
     memovie.co,
18   me-movies.co,
     memovies.ws,
19   memovies123.com,
     memovies2.com,
20   memovies9.com,
     memovieshd.co,
21   memoviestv.com,
     minemytraffic.com,
22   monitorstats.com,
     movie.bet,
23   movie4kfull.com,
     movie4k-putlocker.com,
24   moviecomb.com,
     movies2.co,
25   movies9.co,
     moviesesh.com,
26   moviesgo.co,
     moviesme.co,
27   movietube9.com,
     movietvscript.com,
28   moviewatcher.org,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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     mputlocker.com,
1    mukatifoundation.com,
     mycouchtuner.co,
2    nbapaper.com,
     networth.top,
3    newscomb.com,
     nflpaper.com,
4    niter.online,
     nomhaan.com,
5    notfamousjustrich.com,
     ocprogressive.com,
6    oevo.co,
     oevoapp.com,
7    ofhsa.com,
     onemanga.com,
8    onseries.net,
     open-load.com,
9    oxyvo.com,
     pacmovies.co,
10   pacmovies.net,
     pacmovies.org,
11   passivebros.com,
     pavanicafe.co,
12   paypiya.com,
     phohalong.com,
13   phonerepaironwheels.com,
     phonerepairorlando.com,
14   pokemato.com,
     polyuno.com,
15   potlocker.eu,
     potlocker9.com,
16   pputlocker.com,
     premiersolutionsus.com,
17   primewire9.com,
     procpm.com,
18   project-free.tv,
     proofleads.com,
19   prymehomes.com,
     putanime.com,
20   putchannel.com,
     putlive.co,
21   putlocker.club,
     putlocker.lc,
22   putlocker.life,
     putlocker.mx,
23   putlocker.name,
     putlocker.online,
24   putlocker.shop,
     putlocker.vin,
25   putlocker123movies.com,
     putlocker16.com,
26   putlocker2.co,
     putlocker6.com,
27   putlocker88.com,
     putlocker9.co,
28   putlocker9.com,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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     putlocker9.info,
1    putlocker-ch.com,
     putlockerfull.co,
2    putlocker-hd.co,
     putlockerhd.tv,
3    putlocker-movie.com,
     putlocker-movie4k.com,
4    putlockermovies.co,
     putlockermovies9.com,
5    putlockern.com,
     putlockernew.com,
6    putlockerr.com,
     putlockers9.co,
7    putlockershows.com,
     putlockerstv.net,
8    putlockertube.co,
     putlockertube.com,
9    putlockertv.bz,
     putlockertv.co,
10   putlockertv.pro,
     putmusic.com,
11   putstream.co,
     put-stream.co,
12   putstream.com,
     put-stream.com,
13   putstream.io,
     putstream.me,
14   putstream.net,
     putstream.org,
15   putstream.tv,
     putvid.com,
16   rahmanimasjid.com,
     realestatebytheshare.com,
17   rehmanimasjid.com,
     reporteramerica.com,
18   revenuethemes.com,
     rotanacafesa.com,
19   rottencritic.com,
     royalcuisine.co,
20   royalindopak.com,
     rtob.org,
21   saharagrillsa.com,
     saharamediterraneangrill.com,
22   samadmukati.com,
     sanantonioseo.co,
23   satisfyco.com,
     seaput.com,
24   sellmyhomefastsatx.com,
     sellyourhousecash.co,
25   seobp.com,
     seopv.com,
26   seosolution.net,
     seowebsiterank.com,
27   shopopticals.com,
     shortstore.com,
28   smartwatch.tv,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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     sockshare.co,
1    sock-share.com,
     solarmovie.online,
2    solarmovie.uno,
     solarmovie2.com,
3    solar-movies.co,
     solarmoviess.com,
4    soul-anime.co,
     spacemov.eu,
5    spacemov.info,
     spacemovie.co,
6    spencerrenovationsinc.com,
     stevihairbraiding.com,
7    stevihairstylesatx.com,
     stopcopyright.com,
8    storageupload.com,
     streamgo.co,
9    streamhdlive.com,
     successfultrucking.com,
10   telechargement-zone.co,
     texasandtea.com,
11   theputlockers.com,
     thetrueinvestor.com,
12   topusefulsolutions.com,
     torrentnuke.com,
13   travelboundcouple.com,
     trycrispy.com,
14   tunemovietube.com,
     tvriches.com,
15   unblocked.info,
     usaglam.com,
16   uvapeu.com,
     uwatchseries.com,
17   vapingtolive.com,
     vegabondcouple.com,
18   videomega.co,
     vidushare.com,
19   viooz9.com,
     virgohairbraiding.com,
20   vivasa.co,
     vmoneybuyshouses.com,
21   vod-locker.com,
     vodlocker.me,
22   vodly.me,
     vodly.org,
23   voulu.net,
     voulu.store,
24   vumoo9.com,
     watch5s.co,
25   watch5s.net,
     watchanime.co,
26   watchclips.net,
     watchfullmovie.tv,
27   watchmoviefreak.com,
     watch-movies-online.co,
28   watchngo.com,
     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
                                         7
         Case 4:17-cv-07093-YGR Document 1 Filed 12/13/17 Page 9 of 40


     watchseries.us,
1    watchseries2.com,
     watchseries9.com,
2    watchseriestv.co,
     watchseriestv.org,
3    watchtuner.com,
     watchxyz.com,
4    waysimakemoney.com,
     webdesignsanantonio.co,
5    webhow.co,
     webwestdesign.com,
6    woocommercetoclover.com,
     wowmovie.co,
7    xmovies-8.co,
     xmovies8.mx,
8    xpau.co,
     xpau.org,
9    xputlocker.com,
     xyzseries.co,
10   xyzseries.com,
     xyzseries.net,
11   xyzseries.org,
     yesmovies.co,
12   yesmovies.pro,
     yesmovies.top,
13   yesmovies.ws,
     yibler.com,
14   yiblr.co,
     yiblr.co.uk,
15   yiblr.com,
     yiblr.net,
16   yiblr.us,
     yiblrsanantonio.com,
17   yify.top, and
     zdrive.co,
18
                   Defendants.
19

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     Case No. 3:17-cv-07093                                     VERIFIED COMPLAINT
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        Case 4:17-cv-07093-YGR Document 1 Filed 12/13/17 Page 10 of 40



1           Comes Now the Plaintiff, Mohammad Mukati, (hereinafter Mukati), by and through

2    his counsel, and files this complaint against John Doe (Defendant Doe) and

3    0123movies.co,     123bmovies.com,        123fmovies.ac,       123fmovies.io,     123fmovies.org,

4    123gostream.co, 123gostream.com, 123gostream.net, 123gostream.org, 123movies.bz,

5    123movies.co, 123movies.eu, 123-movies.org, 123movies.plus, 123movies.sx, 123-

6    movies.tv, 123movies.uno, 123movies9.com, 123moviesfreez.co, 123movies-hd.com,

7    123movies-hd.net,          123movies-hd.org,          123movies-hd.tv,           123movieson.co,

8    123movieson.net,          123moviespro.co,         123moviespro.me,          123moviespro.net,

9    123moviestv.com,          123projectfreetv.com,       123putlocker.co,          123putlockers.co,

10   123series.co, 123torrent.co, 123watch.co, 123watch.life, 123watch.tv, 1movie.co,

11   200shirts.com,    2movies.co,      4simplicity.com,     7figureboys.com,         7figureboyz.com,

12   9anime.cc,    9anime.pro,     9anime.ws,     abcmovies.co,       abdulmukati.com,      acsrtx.org,

13   adsgur.com,          africanhairbraidingsanantonio.com,             africanhairsanantonio.com,

14   alistelitestyling.com, allmyvideos.co, alluc.info, alluc1.com, alphametaalphaspin.com,

15   alphaspinalphameta.com,             amcoresecurity.com,              amcoresecuritygroup.com,

16   amcseries.com,      amctickets.com,        amukati.com,        anime9.co,       animestreams.co,

17   anywhererepairs.com, apleno.com, asmukati.com, backlinkpro.com, bivifinder.com,

18   bmovies.la, bmovies.one, bmovies.plus, bmoviesfree.co, bmoviess.org, bollywoodb.com,

19   braidingsanantonio.com, brattygal.com, brothersfurnituresa.com, buyhighprlinkseo.com,

20   carlglebo.com,      carteretlocalfood.org,       cdtibp.com,      cedarsa.com,        cineblog.co,

21   clovertowoocommerce.com,             cmovies.co,           cmovieshd.org,             coinhive.co,

22   cokeandpopcorn.co,               collegeconfirmed.com,                companyseoservice.com,

23   coordinatingyourevent.com,      cornertheweb.com,       couchtuner.info,        couchtuner.online,

24   couchtuner2.com,         ctidcnova.com,      curebymarijuana.com,        customhomessa.com,

25   cxmovies.co, dayt-se.com, dealsbf.com, democracy2017.com, democracy2018.com,

26   democracy2019.com,         dentalpracticearlington.com,    doctern.com,         docternclinic.com,

27   docternclinic.org, doodlesdigital.com, downvideo.co, drama17.com, dramaget.com,

28   dramanice.co,        dramapo.com,            dreadlockssanantonio.com,              drmukati.com,
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         Case 4:17-cv-07093-YGR Document 1 Filed 12/13/17 Page 11 of 40



1    drschaudhry.com, drsuhailchaudhry.com, duelship.com, dvdindustries.com, eflixtv.co,

2    eflixtv.net,   epifilm.com,      eventcobra.com,         ewatchseries.co,      ewatchseries.org,

3    exactnetworth.com, fabulousnailsalon.com, famereport.com, fbvideo.co, filenuke.co,

4    fimrcutsa.com, fmlipsticks.com, fmovies.biz, f-movies.co, fmovies.tube, fmovies.ws,

5    fmovies9.co, fmovies9.com, fmovies9.net, fmovies9.org, fmoviestv.com, followleads.com,

6    freebizwebsite.com, freehdmovies.co, frenchseries.com, fullmovie9.com, fullmovies.tv,

7    fulltimetrainer.com,     giftcrab.com,     gmovies.co,       gomovies.co,      gomoviesgo.com,

8    gomoviesto.co, gorillavid.co, goseries.co, gostream.ag, go-stream.co, gostream.guru, go-

9    stream.org,      go-stream.tv,       gostream2.co,          gostream2.com,       gostream2.net,

10   gostream9.com,           gostreamfree.co,            gostreamfree.com,         gostreamfree.net,

11   gostreamfree.org,             gostreamhd.co,             gostreams.co,           gostreams.org,
12   hairbraidingsanantonio.com,       haput.com,        harambeglass.com,       hassassination.com,
13   hd2stream.com,            hdonline.info,            hijabigals.com,         homebuildersa.com,
14   homeconstructionsa.com, hostnes.com, icouchtuner.co, imovies.co, instasage.com,
15   iphonerepairfast.com, ironicfarooqi.com, isputlocker.co, isputlocker.net, isputlocker.org,
16   jaboz.com, jiblr.com, kagza.com, keepvideo.co, kingsalu.com, kingsaluminium.com,
17   kingsofthrones.com,           kissanime.ag,           kissanime.online,        kissanime9.com,
18   kitchenremodelsa.com,         kitevape.com,        kitevs.com,    ktafricanhair.com,    lgor.com,
19   lowcus.com, managehosts.com, mangafox.org, martialartsinchina.com, megashare.ag,
20   megashare.online,          megashare1.com,             megashare6.com,          megashare9.bz,

21   megashare9.co, megashare9.us, megasharetvshows.com, mehransa.com, memovie.co,

22   me-movies.co, memovies.ws, memovies123.com, memovies2.com, memovies9.com,

23   memovieshd.co, memoviestv.com, minemytraffic.com, monitorstats.com, movie.bet,

24   movie4kfull.com, movie4k-putlocker.com, moviecomb.com, movies2.co, movies9.co,

25   moviesesh.com,      moviesgo.co,     moviesme.co,        movietube9.com,      movietvscript.com,

26   moviewatcher.org,        mputlocker.com,           mukatifoundation.com,      mycouchtuner.co,

27   nbapaper.com, networth.top, newscomb.com, nflpaper.com, niter.online, nomhaan.com,

28   notfamousjustrich.com,        ocprogressive.com,       oevo.co,       oevoapp.com,     ofhsa.com,
     Case No. 3:17-cv-07093                                                      VERIFIED COMPLAINT
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1    onemanga.com, onseries.net, open-load.com, oxyvo.com, pacmovies.co, pacmovies.net,

2    pacmovies.org,       passivebros.com,        pavanicafe.co,      paypiya.com,        phohalong.com,

3    phonerepaironwheels.com,          phonerepairorlando.com,         pokemato.com,        polyuno.com,

4    potlocker.eu, potlocker9.com, pputlocker.com, premiersolutionsus.com, primewire9.com,

5    procpm.com,        project-free.tv,     proofleads.com,      prymehomes.com,          putanime.com,

6    putchannel.com, putlive.co, putlocker.club, putlocker.lc, putlocker.life, putlocker.mx,

7    putlocker.name, putlocker.online, putlocker.shop, putlocker.vin, putlocker123movies.com,

8    putlocker16.com,       putlocker2.co,      putlocker6.com,     putlocker88.com,        putlocker9.co,

9    putlocker9.com, putlocker9.info, putlocker-ch.com, putlockerfull.co, putlocker-hd.co,

10   putlockerhd.tv,     putlocker-movie.com,        putlocker-movie4k.com,        putlockermovies.co,

11   putlockermovies9.com,           putlockern.com,        putlockernew.com,             putlockerr.com,

12   putlockers9.co,          putlockershows.com,           putlockerstv.net,            putlockertube.co,

13   putlockertube.com,       putlockertv.bz,     putlockertv.co,     putlockertv.pro,     putmusic.com,

14   putstream.co,       put-stream.co,        putstream.com,        put-stream.com,         putstream.io,

15   putstream.me,          putstream.net,        putstream.org,        putstream.tv,         putvid.com,

16   rahmanimasjid.com,                    realestatebytheshare.com,               rehmanimasjid.com,
17   reporteramerica.com,         revenuethemes.com,           rotanacafesa.com,          rottencritic.com,
18   royalcuisine.co,            royalindopak.com,                rtob.org,          saharagrillsa.com,
19   saharamediterraneangrill.com,          samadmukati.com,        sanantonioseo.co,      satisfyco.com,
20   seaput.com, sellmyhomefastsatx.com, sellyourhousecash.co, seobp.com, seopv.com,

21   seosolution.net, seowebsiterank.com, shopopticals.com, shortstore.com, smartwatch.tv,

22   sockshare.co, sock-share.com, solarmovie.online, solarmovie.uno, solarmovie2.com,

23   solar-movies.co,      solarmoviess.com,       soul-anime.co,      spacemov.eu,       spacemov.info,

24   spacemovie.co,                 spencerrenovationsinc.com,                   stevihairbraiding.com,

25   stevihairstylesatx.com,        stopcopyright.com,         storageupload.com,            streamgo.co,

26   streamhdlive.com, successfultrucking.com, telechargement-zone.co, texasandtea.com,

27   theputlockers.com,       thetrueinvestor.com,       topusefulsolutions.com,         torrentnuke.com,

28   travelboundcouple.com, trycrispy.com, tunemovietube.com, tvriches.com, unblocked.info,
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1    usaglam.com, uvapeu.com, uwatchseries.com, vapingtolive.com, vegabondcouple.com,

2    videomega.co,        vidushare.com,      viooz9.com,       virgohairbraiding.com,    vivasa.co,

3    vmoneybuyshouses.com, vod-locker.com, vodlocker.me, vodly.me, vodly.org, voulu.net,

4    voulu.store, vumoo9.com, watch5s.co, watch5s.net, watchanime.co, watchclips.net,

5    watchfullmovie.tv,       watchmoviefreak.com,     watch-movies-online.co,       watchngo.com,

6    watchseries.us,          watchseries2.com,         watchseries9.com,          watchseriestv.co,

7    watchseriestv.org,         watchtuner.com,        watchxyz.com,        waysimakemoney.com,

8    webdesignsanantonio.co, webhow.co, webwestdesign.com, woocommercetoclover.com,

9    wowmovie.co,      xmovies-8.co,     xmovies8.mx,       xpau.co,   xpau.org,    xputlocker.com,

10   xyzseries.co, xyzseries.com, xyzseries.net, xyzseries.org, yesmovies.co, yesmovies.pro,

11   yesmovies.top, yesmovies.ws, yibler.com, yiblr.co, yiblr.co.uk, yiblr.com, yiblr.net,

12   yiblr.us, yiblrsanantonio.com, yify.top, and zdrive.co (Defendant Domain Names).

13                                         I. Nature of The Suit
14           1.    This is an action for violation of the Anticybersquatting Consumer
15   Protection Act, 15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act, 18 U.S.C. §
16   1030.
17           2.    The Plaintiff is seeking injunctive and other equitable relief as a result of the
18   actions of the Defendant John Doe who gained unauthorized access to the Plaintiff’s
19   email account on a protected computer, and used this access to gain control of the
20   Plaintiff’s domain registration account at Dynadot and used this access to transfer control

21   of the Defendant Domain Names from the Plaintiff’s account and therefore disabled the

22   Plaintiff’s ability to use and control his Domain Names causing irreparable injury to the

23   Plaintiff.

24                                            II. The Parties

25           3.    The Plaintiff, Mohammad Mukati is a natural person residing in Texas with

26   an address of 31410 Wild Oak Hill, Fair Oaks Ranch, TX 78015

27           4.    Upon information and belief John Doe is an individual, with an address of

28   Super Privacy Services c/o Dynadot Organization, PO Box 701, San Mateo, California
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1    94401, telephone number 650-585-4708 and an email address of privacy@dynadot.com

2    although his true identify is unknown as the defendant is using a privacy service to

3    conceal his identity.

4            5.      The Defendant Domain Names are all placed with the Registry, Dynadot

5    which is located in San Mateo, CA 94401 within this Court’s judicial district.

6            6.      The Plaintiff acquired the Defendant Domain Names at various dates from

7    as set forth on Exhibit 1 to this Complaint, has maintained registration of each and, has,

8    since acquisition, used each domain in commerce. (See Exhibit 1, list of domain names

9    with date of acquisition.)

10           7.      On 11/22/17 at 6:56:49 AM the Plaintiff discovered that Defendant Doe,

11   with an address of Super Privacy Services c/o Dynadot Organization, PO Box 701, San

12   Mateo, California 94401, telephone number 650-585-4708 and an email address of

13   privacy@dynadot.com had at some point hijacked the Plaintiff’s email address and used

14   this unauthorized access to the Plaintiff’s email account to transfer the Defendant

15   Domain Names to Defendant Doe’s control without the Plaintiff’s authorization.

16                                    III. Jurisdiction and Venue
17           8.      This action arises out of Defendant Doe’s violation of the Anticybersquatting
18   Consumer Protection Act, 15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act,
19   18 U.S.C. § 1030.
20           9.      This Court has original jurisdiction pursuant to 15 U.S.C. § 1121(a) and 28

21   U.S.C. §§ 1331 and 1338(a) and has in rem jurisdiction over the Defendant Domain

22   Names pursuant to 15 U.S.C. § 1125(d)(2)(A) as the registrar for each of the Defendant

23   Domain Names, Dynadot, is located within this judicial district.

24           10.     Venue is proper in this district pursuant to 15 U.S.C. § 1125(d)(2)(C) as the

25   subject registrar, Dynadot has its principal place of business in this judicial district. Venue

26   is further proper pursuant to 28 U.S.C. § 1391(b)(2) as the subjects of the action reside in

27   this judicial district.

28           11.     Defendant John Doe directed the acts complained of towards the district
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1    and utilized instrumentalities in the district in that he gained unauthorized access to the

2    Plaintiff’s email system and domain management account and associated computer

3    records and thereafter, without authorization, caused the Domain Names registration

4    records maintained by Dynadot for the Defendant Domain Names to be altered so as to

5    transfer control of the Defendant Domain Names away from the Plaintiff.

6           12.     The Declaratory Judgment Act, 28 U.S.C. § 2201 provides for a declaration

7    of the rights of the Plaintiff in this matter.

8                                                 IV. Notice

9           13.     Pursuant to the Anticybersquatting Consumer Protection Act, 15 U.S.C. §

10   1125(d)(2)(A)(ii)(II)(aa), notice of this filing of this complaint is being sent to the

11   Defendant at the postal addresses and email addresses provided on the current WHOIS

12   records as set forth above, along with a request to waive service pursuant to Federal

13   Rule of Civil Procedures 4(d).

14          14.     The Plaintiff is providing such notice contemporaneously with the filing of

15   this Complaint. Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(bb), the Plaintiff will promptly

16   publish notice of this action as the Court may direct after filing of this Complaint.

17          15.     The Plaintiff’s claim in the alternative for violation of the Computer Fraud

18   and Abuse Act, and the Court’s jurisdiction over the alternative claim, are proper

19   pursuant to 15 U.S.C. § 1125(d)(3) and (4).

20          16.     Joinder of the Defendant Domain Names is proper under Federal Rule of

21   Civil Procedure 20(a)(2) in that the claims set forth herein arise out of the same set of

22   operative facts and the questions of law are common as to all claims and Defendants.

23                                  V.      Intra-District Assignment

24          17.     This action should be assigned to the San Francisco Division of this Court

25   because the Defendant Domain Names’ registrar, Dynadot, is located in San Mateo

26   County.

27                                       VI. Factual Background

28          18.     The Plaintiff acquired the Defendant Domain Names at various dates from
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1    February 24, 1999 through November 18, 2017, has maintained registration of each and,

2    has, since acquisition, used each domain in commerce.

3           19.     The Plaintiff is in the business of domain monetization and collects domains

4    names for the purpose of turning internet traffic into monetary gain through the use of

5    click traffic and/or resale.

6           20.     The Defendant Domain Names are extremely valuable and their loss has

7    deprived the Plaintiff of both the income generated by the Domain Names as well as the

8    ability to sell the Domain Names. The Defendant Domain Names are collectively worth

9    approximately $3,382,435.00.

10          21.     The Plaintiff has used the Defendant Domain Names in commerce since

11   acquisition and has common law rights in the name.

12          22.     The Plaintiff controls his Domain Names through an email account,

13   mohammadhusein91@gmail.com.

14          23.     The Plaintiff’s email system is maintained on a protected computer system

15   and access to the account should be restricted to only that person with the Plaintiff’s

16   username and password.

17          24.     On 11/22/17 at 6:56:49 AM the Plaintiff discovered that his email had been

18   hijacked by Defendant Doe.

19          25.     Defendant Doe used the hijacked control of the Plaintiff’s email account to

20   take control of the Plaintiff’s domain name registration account at Dynadot on a protected

21   computer.

22          26.     Defendant Doe used the hijacked domain name registration account to take

23   control of Defendant Domain Names from the Plaintiff.

24          27.     Defendant Doe used this unauthorized control of the Plaintiff’s email

25   account to change the registration records for the Defendant Domain Names.

26          28.     Defendant Domain Names were was transferred by Defendant Doe away

27   from the Plaintiff’s control.

28          29.     Defendant Doe has taken control of the Defendant Domain Names with the
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1    intent to divert the substantial advertising revenue produced by the web sites associated

2    with the Defendant Domain Names to himself.

3            30.    Defendant Doe has, upon information and belief, taken control of the

4    Defendant Domain Names with the intent to resell the Defendant Domain Names and

5    has in fact sold or transferred some of the Defendant Domain Names.

6            31.    Defendant Doe’s registration and use of the Defendant Domain Names is

7    without the Plaintiff’s authorization.

8            32.    Defendant Doe has no intellectual property rights in the Defendant Domain

9    Names.

10           33.    Defendant Doe provided misleading or incomplete contact information in

11   the Domain Names registration when changing the registration for the Defendant Domain

12   Names.

13           34.    Defendant Doe’s actions are in violation of these aforementioned rights of

14   Plaintiff.

15           35.    On 11/22/17 Defendant Doe, using the on-line identifier of Nile Der

16   contacted the Plaintiff and offered return the stolen domain names for 100 Bitcoin which

17   is roughly worth $1,545,999.50. (See Exhibit 2, on-line conversations with the thief.)

18                                         VII. Causes of Action
19                                                    Count I
20                                  Claim for Declaratory Judgment

21           36.    The Plaintiff repeats and realleges the previous paragraphs as if set forth in

22   full. Plaintiff had registered the Defendant Domain Names as alleged above and has,

23   since that time, maintained uninterrupted control over the Defendant Domain Names until

24   stolen by Defendant Doe.

25           37.    Defendant Doe's actions have taken control of the Defendant Domain

26   Names from Plaintiff without authorization or permission.

27           38.    The Declaratory Judgment Act, 28 U.S.C. § 2201, provides for a declaration

28   of the rights of the Plaintiff in this matter.
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1                                              Count II

2                     Anticybersquatting Consumer Protection Act (ACPA)

3                                      15 U.S.C. § 1114(2)(d)

4           39.    The Plaintiff repeats and realleges the previous paragraphs as if set forth in

5    full. The Plaintiff has owned many of the Defendant Domain Names for years, has used

6    them in commerce to generate substantial income and has common law rights in the

7    marks.

8           40.    Defendant Doe’s actions constitute registration, trafficking, or use of a

9    Domain Name that is identical to the Plaintiff's trademarks, with bad faith intent to profit

10   therefrom.

11          41.    The Plaintiff, because of Defendant Doe's actions, is being prevented from

12   using and exercising control over the Defendant Domain Names.

13          42.    The Plaintiff is being harmed through the loss of income, loss of business

14   and loss of business opportunities unless enjoined.

15          43.    The Plaintiff's business reputation and standing is at risk from posting of

16   improper, illegal, incorrect, or otherwise harmful information on the web pages associated

17   with his domain names.

18          44.    The Plaintiff, despite diligent inquiry, has been unable to obtain the

19   accurate identity of a person subject to this Court's jurisdiction who would have been a

20   defendant in a civil action pursuant to 15 U.S.C. § 1125(d)(2)(A)(i)(I).

21          45.    The above described conduct of Defendant Doe, registrant of the

22   Defendant Domain Names, constitutes unlawful cybersquatting in violation of the

23   Anticybersquatting Consumer Protection Act, 15 U.S. C. § 1125(d)(1).

24          46.    The above described conduct by Defendant Doe has caused, and is

25   causing, great and irreparable harm to the Plaintiff and the public, specifically the

26   potential posting of improper, illegal, incorrect or otherwise harmful information on the

27   web pages associated with its domain name. Unless permanently enjoined by this Court,

28   said irreparable harm will continue. Accordingly, pursuant to 15 U.S. C. §
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1    1125(d)(2)(D)(I), the Plaintiff is entitled to an order transferring the registration of the

2    Defendant Domain Names to the Plaintiff.

3                                              Count III

4                      Tortuous Interference with Contractual Relationship

5            47.    The Plaintiff repeats and realleges the previous paragraphs as if set forth in

6    full. The Plaintiff properly entered into contracts with the registrar for the Defendant

7    Domain Names before the Defendant Domain Names was stolen.

8            48.    Defendant Doe has unlawfully taken control of the Defendant Domain

9    Names, interfering with Plaintiff's lawful contract rights to the Defendant Domain Names.

10           49.    As a result of the Defendant's acts, the Plaintiff has been damaged and will

11   continue to be damaged. The Plaintiff requests that this Court declare Defendant liable

12   for its past and any future losses in association with the registration service contracts.

13                                             Count IV

14                                           Conversion
15           50.    The Plaintiff repeats and realleges the previous paragraphs as if set forth in
16   full. Plaintiff has property rights in the Defendant Domain Names.
17           51.    Defendant Doe has taken control of the Defendant Domain Names and is
18   wrongfully exercising control and authority over the Defendant Domain Names.
19           52.    The control and authority exercised by Defendant Doe deprives the Plaintiff
20   of control and the income and business generated from the Defendant Domain Names.

21           53.    Defendant Doe is wrongfully exerting dominion over the Plaintiff's property

22   in denial of his rights.

23                                             Count V

24                        Violation of the Computer Fraud and Abuse Act

25           54.    The Plaintiff repeats and realleges the previous paragraphs as if set forth in

26   full.

27           55.    Defendant Doe knowingly and intentionally accessed the Plaintiff's email

28   system on a protected computer without authorization and thereby obtained information
     Case No. 3:17-cv-07093                                                  VERIFIED COMPLAINT
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1    from the protected computer in a transaction involving an interstate or foreign

2    communication in violation of 18 U.S.C. § 1030(a)(2)(c).

3           56.    Defendant Doe knowingly, and with intent to defraud, accessed the

4    Plaintiff's email system on a protected computer without authorization and obtained

5    information from that computer which Defendant Doe used to further a fraud and obtain

6    something of value in violation of 18 U.S.C. § 1030(a)(4).

7           57.    Defendant Doe intentionally accessed the Plaintiff's email system on a

8    protected computer without authorization and as a result of such conduct caused

9    damage and loss in violation of 18 U.S.C. § 1030(a)(5)(c).

10          58.    The Plaintiff has suffered damages as a result of the conduct complained of

11   and such conduct has caused a loss to the Plaintiff during a one-year period aggregating

12   to at least $5,000.

13          59.    As a direct result of the actions complained of, the Plaintiff has suffered,

14   and continues to suffer, irreparable harm for which the Plaintiff has no adequate remedy

15   at law and which will continue unless enjoined.

16                                       PRAYER FOR RELIEF

17          WHEREFORE, The Plaintiff respectfully requests of this court:

18          1.     That judgment be entered in favor of the Plaintiff on his claims for violation

19   of the Anticybersquatting Consumer Protection Act; and

20          2.     That judgment be entered in favor of the Plaintiff on his claims for violation

21   of the Computer Fraud and Abuse Act; and

22          3.     Enter an order declaring that Mohammad Mukati is the only entity with any

23   rights to the contract controlling the Defendant Domain Names; and

24          4.     Enter an order declaring that Defendant Doe does not have any rights to

25   the Defendant Domain Names; and

26          5.     Enter an order directing that the Defendant Domain Names be promptly

27   transferred to the Plaintiff; and

28          6.     Enter an Order directing the appropriate registrar to promptly return control
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1    of the Defendant Domain Names to Mohammad Mukati and the registrar as directed by

2    counsel for the Plaintiff; and

3           7.     Award the Plaintiff his fees and costs, including reasonable attorney fees, in

4    connection with this action pursuant to 15 U.S.C. § 1117(a); and

5           8.     That the Court grant such other relief to the Plaintiff as the Court deems just

6    and proper.

7

8    Respectfully submitted,
     DATED: December 13, 2017                        KRONENBERGER ROSENFELD, LLP
9

10
                                                            s/ Karl S. Kronenberger
11                                                              Karl S. Kronenberger

12                                                   Attorneys for Plaintiff
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                  1                                        Verification

                  2            I, Mohammad Mukati declare under penalty of perjury, pursuant to 28 U.S.C. §

                  3   1746, that I am the original owner of each of the Defendant Domain Names listed above

                  4   and the facts contained in the foregoing verified complaint are true and correct to the

                  5   best of my knowledge, information and belief.

                  6
                                 12/13/2017
                      Dated:
                  7
                                                                      Mohammad Mukati
                  8

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                                                                                                                      Income Loss 
Domain                       Expiration Date        Registration Date      Admin Email                  Domain Value per month
brothersfurnituresa.com      2017/10/12 20:17 IST   2016/10/12 20:17 IST   expired@dynadot.com                 $20.00              0
gorillavid.co                2017/10/26 05:29 IST   2015/10/27 02:14 IST   mohammadhusein91@gmail.com          $40.00              0
filenuke.co                  2017/10/26 05:29 IST   2015/10/27 02:14 IST   mohammadhusein91@gmail.com          $40.00              0
watchmoviefreak.com          2017/10/26 23:55 IST   2015/10/26 23:55 IST   expired@dynadot.com                 $20.00              0
putlocker‐movie4k.com        2017/10/27 05:52 IST   2015/10/27 05:52 IST   expired@dynadot.com                 $20.00              0
movie4k‐putlocker.com        2017/10/27 05:52 IST   2015/10/27 05:52 IST   expired@dynadot.com                 $20.00              0
movie4kfull.com              2017/10/27 05:52 IST   2015/10/27 05:52 IST   expired@dynadot.com                 $20.00              0
fmovies9.com                 2017/10/27 09:29 IST   2016/10/27 09:29 IST   expired@dynadot.com                 $20.00              0
watchseries9.com             2017/10/27 10:14 IST   2016/10/27 10:14 IST   expired@dynadot.com                 $20.00              0
giftcrab.com                 2017/11/03 08:13 IST   2016/11/03 08:13 IST   expired@dynadot.com                 $20.00              0
uvapeu.com                   2017/11/20 00:13 IST   2016/11/20 00:13 IST   mohammadhusein91@gmail.com          $20.00              0
kitevs.com                   2017/11/22 02:06 IST   2016/11/22 02:06 IST   mohammadhusein91@gmail.com          $80.00              0
kitevape.com                 2017/11/22 02:06 IST   2016/11/22 02:06 IST   mohammadhusein91@gmail.com        $105.00               0
royalindopak.com             2017/11/22 02:50 IST   2016/11/22 02:50 IST   mohammadhusein91@gmail.com          $20.00              0
putlockerfull.co             2017/11/23 05:29 IST   2015/11/24 00:36 IST   mohammadhusein91@gmail.com          $20.00              0
putlocker16.com              2017/11/24 00:36 IST   2015/11/24 00:36 IST   mohammadhusein91@gmail.com          $20.00              0
dayt‐se.com                  2017/11/24 00:36 IST   2015/11/24 00:36 IST   mohammadhusein91@gmail.com          $20.00              0
spacemov.eu                  2017/11/24 04:29 IST   2015/11/24 00:36 IST   mohammadhusein91@gmail.com          $20.00              0
dealsbf.com                  2017/11/25 05:51 IST   2014/11/25 05:51 IST   mohammadhusein91@gmail.com        $100.00         $5.00
satisfyco.com                2017/11/30 04:24 IST   2016/11/30 04:24 IST   mohammadhusein91@gmail.com          $80.00              0
royalcuisine.co              2017/12/01 05:29 IST   2016/12/02 03:15 IST   mohammadhusein91@gmail.com      $2,400.00       $400.00
putanime.com                 2017/12/03 08:51 IST   2016/12/03 08:51 IST   mohammadhusein91@gmail.com        $100.00               0
prymehomes.com               2017/12/03 22:16 IST   2016/12/03 22:16 IST   mohammadhusein91@gmail.com      $3,600.00       $800.00
duelship.com                 2017/12/06 11:36 IST   2014/12/06 11:36 IST   mohammadhusein91@gmail.com          $40.00              0
unblocked.info               2017/12/07 19:03 IST   2016/12/07 19:03 IST   privacy@dynadot.com               $200.00               0
watchseries2.com             2017/12/09 05:24 IST   2014/12/09 05:24 IST   mohammadhusein91@gmail.com        $200.00               0
putlocker123movies.com       2017/12/11 10:44 IST   2016/12/11 10:44 IST   mohammadhusein91@gmail.com          $20.00              0
putlocker88.com              2017/12/11 10:44 IST   2016/12/11 10:44 IST   mohammadhusein91@gmail.com          $20.00              0
alluc.info                   2017/12/15 01:19 IST   2014/12/15 01:19 IST   mohammadhusein91@gmail.com          $20.00              0
onemanga.com                 2017/12/18 22:13 IST   2016/10/18 22:13 IST   mohammadhusein91@gmail.com      $3,000.00        $25.00
sockshare.co                 2017/12/19 05:29 IST   2015/12/19 23:34 IST   mohammadhusein91@gmail.com        $150.00               0
megasharetvshows.com         2017/12/24 13:20 IST   2014/12/24 13:20 IST   privacy@dynadot.com                 $20.00              0
freehdmovies.co              2018/01/08 05:29 IST   2016/01/08 14:21 IST   mohammadhusein91@gmail.com          $20.00              0
samadmukati.com              2018/01/08 06:42 IST   2016/01/08 06:42 IST   mohammadhusein91@gmail.com          $20.00              0
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asmukati.com                 2018/01/08 06:42 IST   2016/01/08 06:42 IST   mohammadhusein91@gmail.com        $20.00           0
vumoo9.com                   2018/01/08 14:21 IST   2016/01/08 14:21 IST   mohammadhusein91@gmail.com        $20.00           0
megashare9.co                2018/01/11 05:29 IST   2016/01/11 23:32 IST   mohammadhusein91@gmail.com        $20.00           0
storageupload.com            2018/01/11 14:18 IST   2015/01/11 14:18 IST   privacy@dynadot.com             $100.00            0
torrentnuke.com              2018/01/13 12:45 IST   2015/01/13 12:45 IST   mohammadhusein91@gmail.com        $20.00           0
ctidcnova.com                2018/01/14 04:02 IST   2017/01/14 04:02 IST   mohammadhusein91@gmail.com        $20.00           0
webhow.co                    2018/01/17 05:29 IST   2016/01/17 13:13 IST   mohammadhusein91@gmail.com      $100.00            0
polyuno.com                  2018/01/20 05:08 IST   2013/01/20 05:08 IST   mohammadhusein91@gmail.com    $10,000.00    $200.00
topusefulsolutions.com       2018/01/20 23:53 IST   2015/01/20 23:53 IST   mohammadhusein91@gmail.com      $120.00            0
cdtibp.com                   2018/01/21 00:01 IST   2017/01/21 00:01 IST   mohammadhusein91@gmail.com        $20.00           0
watchxyz.com                 2018/01/22 04:01 IST   2013/01/22 04:01 IST   privacy@dynadot.com               $20.00           0
putlocker.shop               2018/01/26 05:29 IST   2017/01/25 05:33 IST   mohammadhusein91@gmail.com        $20.00           0
famereport.com               2018/01/26 09:02 IST   2016/01/26 09:02 IST   mohammadhusein91@gmail.com      $250.00            0
nflpaper.com                 2018/01/28 23:30 IST   2015/01/28 23:30 IST   privacy@dynadot.com             $200.00            0
clovertowoocommerce.com      2018/01/29 02:26 IST   2017/01/29 02:26 IST   mohammadhusein91@gmail.com      $200.00            0
democracy2017.com            2018/01/30 04:00 IST   2017/01/30 04:00 IST   mohammadhusein91@gmail.com        $20.00           0
democracy2018.com            2018/01/30 04:00 IST   2017/01/30 04:00 IST   mohammadhusein91@gmail.com        $20.00           0
democracy2019.com            2018/01/30 04:00 IST   2017/01/30 04:00 IST   mohammadhusein91@gmail.com        $20.00           0
vodlocker.me                 2018/01/30 12:27 IST   2014/01/30 12:27 IST   mohammadhusein91@gmail.com        $20.00           0
carlglebo.com                2018/01/30 21:57 IST   2014/01/30 21:57 IST   mohammadhusein91@gmail.com     $3,600.00    $400.00
woocommercetoclover.com      2018/02/02 12:11 IST   2017/02/02 12:11 IST   mohammadhusein91@gmail.com      $200.00            0
doctern.com                  2018/02/03 09:38 IST   2017/02/03 09:38 IST   mohammadhusein91@gmail.com      $500.00            0
putlocker.vin                2018/02/04 09:18 IST   2017/02/04 09:18 IST   mohammadhusein91@gmail.com        $20.00           0
megashare9.bz                2018/02/06 22:33 IST   2016/02/06 22:33 IST   privacy@dynadot.com               $20.00           0
buyhighprlinkseo.com         2018/02/08 00:40 IST   2015/02/08 00:40 IST   mohammadhusein91@gmail.com      $150.00            0
gomovies.co                  2018/02/08 05:29 IST   2017/02/09 01:25 IST   privacy@dynadot.com          $150,000.00   $4,500.00
moviesesh.com                2018/02/08 09:48 IST   2017/02/08 09:48 IST   mohammadhusein91@gmail.com        $20.00           0
seosolution.net              2018/02/09 00:31 IST   2014/02/09 00:31 IST   mohammadhusein91@gmail.com        $80.00           0
dramanice.co                 2018/02/12 05:29 IST   2016/02/13 04:32 IST   privacy@dynadot.com               $80.00           0
dramapo.com                  2018/02/13 04:32 IST   2016/02/13 04:32 IST   privacy@dynadot.com               $20.00           0
drama17.com                  2018/02/13 04:32 IST   2016/02/13 04:32 IST   privacy@dynadot.com               $20.00           0
putlockers9.co               2018/02/17 05:29 IST   2017/02/18 01:04 IST   mohammadhusein91@gmail.com        $20.00           0
putlockertube.co             2018/02/17 05:29 IST   2017/02/18 01:04 IST   mohammadhusein91@gmail.com        $20.00           0
shortstore.com               2018/02/18 08:02 IST   2017/02/18 08:02 IST   mohammadhusein91@gmail.com      $300.00            0
stevihairstylesatx.com       2018/02/18 17:36 IST   2016/02/18 17:36 IST   mohammadhusein91@gmail.com      $200.00            0
tvriches.com                 2018/02/21 00:58 IST   2017/02/21 00:58 IST   mohammadhusein91@gmail.com        $60.00           0
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123watch.co                 2018/02/23 05:29 IST   2017/02/23 10:43 IST   mohammadhusein91@gmail.com      $60.00   0
kissanime9.com              2018/02/23 21:19 IST   2016/02/23 21:19 IST   mohammadhusein91@gmail.com      $20.00   0
123watch.life               2018/02/23 23:56 IST   2017/02/23 23:56 IST   privacy@dynadot.com             $20.00   0
123watch.tv                 2018/02/23 23:56 IST   2017/02/23 23:56 IST   privacy@dynadot.com             $40.00   0
kissanime.online            2018/02/24 05:29 IST   2016/02/23 21:19 IST   mohammadhusein91@gmail.com      $20.00   0
freebizwebsite.com          2018/02/24 10:30 IST   2016/02/24 10:30 IST   mohammadhusein91@gmail.com      $60.00   0
kingsaluminium.com          2018/02/24 15:21 IST   2017/02/24 15:21 IST   mohammadhusein91@gmail.com      $20.00   0
kingsalu.com                2018/02/24 15:21 IST   2017/02/24 15:21 IST   mohammadhusein91@gmail.com      $20.00   0
potlocker9.com              2018/02/24 22:02 IST   2015/02/24 22:02 IST   mohammadhusein91@gmail.com      $20.00   0
fulltimetrainer.com         2018/02/26 00:37 IST   2013/02/26 00:37 IST   mohammadhusein91@gmail.com      $80.00   0
dvdindustries.com           2018/02/28 04:36 IST   2017/02/28 04:36 IST   mohammadhusein91@gmail.com      $80.00   0
123putlocker.co             2018/02/28 05:29 IST   2017/02/28 10:47 IST   mohammadhusein91@gmail.com      $20.00   0
vod‐locker.com              2018/02/28 10:47 IST   2017/02/28 10:47 IST   mohammadhusein91@gmail.com      $20.00   0
rehmanimasjid.com           2018/03/01 00:55 IST   2016/02/29 00:55 IST   mohammadhusein91@gmail.com    $200.00    0
pputlocker.com              2018/03/02 01:06 IST   2017/03/02 01:06 IST   privacy@dynadot.com             $20.00   0
hostnes.com                 2018/03/03 00:50 IST   2016/03/03 00:50 IST   mohammadhusein91@gmail.com      $80.00   0
movie.bet                   2018/03/03 22:04 IST   2016/03/03 22:04 IST   mohammadhusein91@gmail.com   $1,000.00   0
frenchseries.com            2018/03/05 02:58 IST   2015/03/05 02:58 IST   mohammadhusein91@gmail.com   $1,000.00   0
harambeglass.com            2018/03/05 07:01 IST   2017/03/05 07:01 IST   mohammadhusein91@gmail.com      $20.00   0
fullmovies.tv               2018/03/06 09:05 IST   2015/03/06 09:05 IST   mohammadhusein91@gmail.com      $20.00   0
fullmovie9.com              2018/03/06 12:13 IST   2015/03/06 12:13 IST   mohammadhusein91@gmail.com      $20.00   0
watchseriestv.org           2018/03/06 15:59 IST   2015/03/06 15:59 IST   mohammadhusein91@gmail.com      $20.00   0
putlocker‐movie.com         2018/03/07 00:51 IST   2016/03/07 00:51 IST   mohammadhusein91@gmail.com      $20.00   0
mukatifoundation.com        2018/03/07 13:52 IST   2014/03/07 13:52 IST   mohammadhusein91@gmail.com      $20.00   0
2movies.co                  2018/03/08 05:29 IST   2017/03/08 23:31 IST   privacy@dynadot.com             $20.00   0
seaput.com                  2018/03/10 00:53 IST   2017/03/10 00:53 IST   mohammadhusein91@gmail.com      $80.00   0
putlocker‐ch.com            2018/03/10 01:01 IST   2017/03/10 01:01 IST   mohammadhusein91@gmail.com      $20.00   0
xmovies8.mx                 2018/03/10 15:26 IST   2017/03/10 15:26 IST   mohammadhusein91@gmail.com      $20.00   0
putlockertv.bz              2018/03/10 15:26 IST   2017/03/10 15:26 IST   mohammadhusein91@gmail.com      $20.00   0
putlockerstv.net            2018/03/10 15:26 IST   2017/03/10 15:26 IST   mohammadhusein91@gmail.com      $20.00   0
putlockertv.pro             2018/03/10 15:26 IST   2017/03/10 15:26 IST   mohammadhusein91@gmail.com      $20.00   0
imovies.co                  2018/03/11 05:29 IST   2017/03/11 23:38 IST   privacy@dynadot.com             $20.00   0
onseries.net                2018/03/12 00:30 IST   2017/03/12 00:30 IST   mohammadhusein91@gmail.com      $80.00   0
alphametaalphaspin.com      2018/03/12 00:39 IST   2017/03/12 00:39 IST   mohammadhusein91@gmail.com      $20.00   0
alphaspinalphameta.com      2018/03/12 00:39 IST   2017/03/12 00:39 IST   mohammadhusein91@gmail.com      $20.00   0
haput.com                   2018/03/12 00:41 IST   2017/03/12 00:41 IST   privacy@dynadot.com             $80.00   0
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moviesgo.co                 2018/03/12 05:29 IST   2016/03/12 18:36 IST   mohammadhusein91@gmail.com    $100.00    0
123movies.bz                2018/03/13 04:36 IST   2016/03/13 04:36 IST   mohammadhusein91@gmail.com    $800.00    0
dramaget.com                2018/03/13 04:36 IST   2016/03/13 04:36 IST   mohammadhusein91@gmail.com      $20.00   0
123movies.eu                2018/03/14 04:29 IST   2016/03/13 04:36 IST   mohammadhusein91@gmail.com      $40.00   0
watchtuner.com              2018/03/17 04:57 IST   2017/03/17 04:57 IST   mohammadhusein91@gmail.com    $100.00    0
ofhsa.com                   2018/03/19 00:15 IST   2017/03/19 00:15 IST   mohammadhusein91@gmail.com      $20.00   0
putlocker2.co               2018/03/19 05:29 IST   2017/03/19 11:33 IST   mohammadhusein91@gmail.com      $20.00   0
123movies‐hd.net            2018/03/19 11:33 IST   2017/03/19 11:33 IST   mohammadhusein91@gmail.com      $20.00   0
123movies‐hd.org            2018/03/19 11:33 IST   2017/03/19 11:33 IST   mohammadhusein91@gmail.com      $20.00   0
123movies‐hd.tv             2018/03/19 11:33 IST   2017/03/19 11:33 IST   mohammadhusein91@gmail.com      $20.00   0
movies2.co                  2018/03/20 05:29 IST   2016/03/20 23:32 IST   mohammadhusein91@gmail.com      $50.00   0
movietube9.com              2018/03/21 14:42 IST   2015/03/21 14:42 IST   mohammadhusein91@gmail.com      $20.00   0
viooz9.com                  2018/03/21 14:42 IST   2015/03/21 14:42 IST   mohammadhusein91@gmail.com      $20.00   0
primewire9.com              2018/03/21 14:42 IST   2015/03/21 14:42 IST   mohammadhusein91@gmail.com      $20.00   0
procpm.com                  2018/03/21 21:19 IST   2013/03/21 21:19 IST   mohammadhusein91@gmail.com   $4,000.00   0
potlocker.eu                2018/03/22 04:29 IST   2015/03/21 14:42 IST   mohammadhusein91@gmail.com      $20.00   0
putlocker.club              2018/03/22 05:29 IST   2016/03/22 20:51 IST   mohammadhusein91@gmail.com      $20.00   0
putlockermovies.co          2018/03/22 05:29 IST   2016/03/22 20:51 IST   mohammadhusein91@gmail.com      $20.00   0
kingsofthrones.com          2018/03/26 10:56 IST   2015/03/26 10:56 IST   mohammadhusein91@gmail.com      $20.00   0
123series.co                2018/03/28 05:29 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com    $150.00    0
me‐movies.co                2018/03/28 05:29 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $40.00   0
memovie.co                  2018/03/28 05:29 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $40.00   0
moviesme.co                 2018/03/28 05:29 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $40.00   0
memovieshd.co               2018/03/28 05:29 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $40.00   0
memovies9.com               2018/03/28 13:35 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $20.00   0
memoviestv.com              2018/03/28 13:35 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $20.00   0
memovies123.com             2018/03/28 13:35 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $20.00   0
memovies2.com               2018/03/28 13:35 IST   2017/03/28 13:35 IST   mohammadhusein91@gmail.com      $20.00   0
memovies.ws                 2018/03/28 13:41 IST   2017/03/28 13:41 IST   mohammadhusein91@gmail.com      $20.00   0
watchngo.com                2018/03/28 23:52 IST   2017/03/28 23:52 IST   mohammadhusein91@gmail.com      $40.00   0
zdrive.co                   2018/03/29 05:29 IST   2016/03/30 04:23 IST   privacy@dynadot.com             $40.00   0
gmovies.co                  2018/03/30 05:29 IST   2017/03/30 07:16 IST   mohammadhusein91@gmail.com    $150.00    0
sanantonioseo.co            2018/03/30 05:29 IST   2017/03/30 07:16 IST   mohammadhusein91@gmail.com   $1,050.00   0
webdesignsanantonio.co      2018/03/30 05:29 IST   2017/03/31 01:18 IST   mohammadhusein91@gmail.com   $3,000.00   0
eflixtv.co                  2018/04/02 05:29 IST   2017/04/02 09:11 IST   mohammadhusein91@gmail.com      $20.00   0
eflixtv.net                 2018/04/02 09:11 IST   2017/04/02 09:11 IST   mohammadhusein91@gmail.com      $20.00   0
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yiblr.co                         2018/04/03 05:29 IST   2017/04/04 02:43 IST   mohammadhusein91@gmail.com    $200.00           0
yiblr.us                         2018/04/03 05:29 IST   2017/04/04 02:43 IST   mohammadhusein91@gmail.com      $20.00          0
yiblr.net                        2018/04/04 02:43 IST   2017/04/04 02:43 IST   mohammadhusein91@gmail.com    $200.00           0
amukati.com                      2018/04/06 05:33 IST   2015/04/06 05:33 IST   mohammadhusein91@gmail.com      $20.00          0
alluc1.com                       2018/04/08 00:53 IST   2015/04/08 00:53 IST   privacy@dynadot.com             $20.00          0
shopopticals.com                 2018/04/08 15:51 IST   2016/04/08 15:51 IST   mohammadhusein91@gmail.com    $200.00           0
cornertheweb.com                 2018/04/09 00:01 IST   2015/04/09 00:01 IST   mohammadhusein91@gmail.com      $25.00          0
amctickets.com                   2018/04/10 00:06 IST   2003/04/10 00:06 IST   privacy@dynadot.com          $2,000.00          0
reporteramerica.com              2018/04/12 04:56 IST   2017/04/12 04:56 IST   mohammadhusein91@gmail.com    $200.00           0
gomoviesto.co                    2018/04/12 05:29 IST   2017/04/13 01:45 IST   mohammadhusein91@gmail.com      $20.00          0
coordinatingyourevent.com        2018/04/13 02:23 IST   2017/04/13 02:23 IST   privacy@dynadot.com             $20.00          0
alistelitestyling.com            2018/04/13 02:26 IST   2017/04/13 02:26 IST   privacy@dynadot.com             $20.00          0
rottencritic.com                 2018/04/13 03:16 IST   2016/04/13 03:16 IST   mohammadhusein91@gmail.com      $20.00          0
bollywoodb.com                   2018/04/13 05:22 IST   2015/04/13 05:22 IST   mohammadhusein91@gmail.com      $40.00          0
videomega.co                     2018/04/13 05:29 IST   2017/04/14 00:17 IST   mohammadhusein91@gmail.com      $40.00          0
vivasa.co                        2018/04/14 05:29 IST   2017/04/15 01:57 IST   privacy@dynadot.com             $40.00          0
yiblr.co.uk                      2018/04/15 01:57 IST   2017/04/15 01:57 IST   privacy@dynadot.com             $20.00          0
newscomb.com                     2018/04/15 06:04 IST   2014/04/15 06:04 IST   mohammadhusein91@gmail.com      $20.00          0
dentalpracticearlington.com      2018/04/15 19:58 IST   2013/04/15 19:58 IST   mohammadhusein91@gmail.com      $40.00          0
megashare1.com                   2018/04/16 00:13 IST   2016/04/16 00:13 IST   mohammadhusein91@gmail.com      $20.00          0
theputlockers.com                2018/04/17 00:26 IST   2017/04/17 00:26 IST   mohammadhusein91@gmail.com      $20.00          0
wowmovie.co                      2018/04/17 05:29 IST   2017/04/18 01:34 IST   privacy@dynadot.com             $40.00          0
putlockermovies9.com             2018/04/17 23:34 IST   2017/04/17 23:34 IST   mohammadhusein91@gmail.com      $20.00          0
nbapaper.com                     2018/04/18 01:34 IST   2017/04/18 01:34 IST   privacy@dynadot.com           $200.00           0
sock‐share.com                   2018/04/18 01:34 IST   2017/04/18 01:34 IST   privacy@dynadot.com             $20.00          0
cmovieshd.org                    2018/04/18 01:34 IST   2017/04/18 01:34 IST   privacy@dynadot.com             $20.00          0
allmyvideos.co                   2018/04/18 05:29 IST   2016/04/18 08:24 IST   mohammadhusein91@gmail.com      $20.00          0
spacemovie.co                    2018/04/18 05:29 IST   2016/04/18 08:24 IST   mohammadhusein91@gmail.com      $20.00          0
spacemov.info                    2018/04/18 08:24 IST   2016/04/18 08:24 IST   mohammadhusein91@gmail.com      $20.00          0
pavanicafe.co                    2018/04/20 05:29 IST   2016/04/21 05:06 IST   mohammadhusein91@gmail.com      $20.00          0
watchseriestv.co                 2018/04/23 05:29 IST   2016/04/23 23:34 IST   mohammadhusein91@gmail.com      $40.00          0
streamhdlive.com                 2018/04/24 22:53 IST   2016/04/24 22:53 IST   mohammadhusein91@gmail.com      $20.00          0
hd2stream.com                    2018/04/24 22:53 IST   2016/04/24 22:53 IST   mohammadhusein91@gmail.com      $20.00          0
watch‐movies‐online.co           2018/04/26 05:29 IST   2017/04/26 23:34 IST   privacy@dynadot.com             $20.00          0
curebymarijuana.com              2018/04/26 09:07 IST   2015/04/26 09:07 IST   mohammadhusein91@gmail.com    $500.00           0
cedarsa.com                      2018/04/29 04:04 IST   2017/04/29 04:04 IST   mohammadhusein91@gmail.com   $4,000.00   $200.00
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putlocker‐hd.co             2018/04/29 05:29 IST   2016/04/30 02:49 IST   mohammadhusein91@gmail.com       $20.00          0
paypiya.com                 2018/04/29 06:36 IST   2015/04/29 06:36 IST   mohammadhusein91@gmail.com       $20.00          0
xmovies‐8.co                2018/05/01 05:29 IST   2016/05/01 21:59 IST   mohammadhusein91@gmail.com       $20.00          0
gomoviesgo.com              2018/05/01 23:45 IST   2017/05/01 23:45 IST   mohammadhusein91@gmail.com       $20.00          0
smartwatch.tv               2018/05/03 13:38 IST   2016/05/03 13:38 IST   mohammadhusein91@gmail.com       $20.00          0
anime9.co                   2018/05/04 05:29 IST   2017/05/04 13:51 IST   privacy@dynadot.com              $20.00          0
yesmovies.top               2018/05/04 13:51 IST   2017/05/04 13:51 IST   privacy@dynadot.com              $20.00          0
yify.top                    2018/05/04 13:51 IST   2017/05/04 13:51 IST   privacy@dynadot.com              $20.00          0
9anime.ws                   2018/05/04 13:51 IST   2017/05/04 13:51 IST   privacy@dynadot.com              $20.00          0
9anime.pro                  2018/05/04 13:51 IST   2017/05/04 13:51 IST   privacy@dynadot.com              $20.00          0
9anime.cc                   2018/05/04 13:58 IST   2017/05/04 13:58 IST   privacy@dynadot.com              $20.00          0
fmovies.biz                 2018/05/06 05:29 IST   2016/05/06 21:28 IST   mohammadhusein91@gmail.com       $20.00          0
fmovies9.co                 2018/05/08 05:29 IST   2017/05/09 00:48 IST   mohammadhusein91@gmail.com       $20.00          0
fmoviestv.com               2018/05/08 14:16 IST   2017/05/08 14:16 IST   mohammadhusein91@gmail.com       $20.00          0
fmovies9.net                2018/05/09 00:48 IST   2017/05/09 00:48 IST   mohammadhusein91@gmail.com       $20.00          0
fmovies9.org                2018/05/09 00:48 IST   2017/05/09 00:48 IST   mohammadhusein91@gmail.com       $20.00          0
putlockerhd.tv              2018/05/10 13:31 IST   2017/05/10 13:31 IST   privacy@dynadot.com              $20.00          0
doodlesdigital.com          2018/05/11 10:33 IST   2017/05/11 10:33 IST   mohammadhusein91@gmail.com       $80.00          0
cokeandpopcorn.co           2018/05/12 05:29 IST   2017/05/12 06:08 IST   mohammadhusein91@gmail.com     $100.00           0
putlockertv.co              2018/05/12 05:29 IST   2017/05/12 23:32 IST   privacy@dynadot.com              $20.00          0
putstream.net               2018/05/12 06:08 IST   2017/05/12 06:08 IST   mohammadhusein91@gmail.com       $20.00          0
rotanacafesa.com            2018/05/12 09:30 IST   2017/05/12 09:30 IST   mohammadhusein91@gmail.com       $20.00          0
megashare9.us               2018/05/13 05:29 IST   2017/05/13 23:32 IST   mohammadhusein91@gmail.com       $20.00          0
mycouchtuner.co             2018/05/15 05:29 IST   2017/05/15 08:45 IST   mohammadhusein91@gmail.com       $50.00          0
movies9.co                  2018/05/15 05:29 IST   2017/05/15 23:32 IST   privacy@dynadot.com              $20.00          0
passivebros.com             2018/05/16 03:47 IST   2015/05/16 03:47 IST   privacy@dynadot.com              $20.00          0
waysimakemoney.com          2018/05/16 08:43 IST   2015/05/16 08:43 IST   privacy@dynadot.com              $20.00          0
movietvscript.com           2018/05/22 22:12 IST   2014/05/22 22:12 IST   privacy@dynadot.com              $20.00          0
seopv.com                   2018/05/24 00:05 IST   2014/05/24 00:05 IST   privacy@dynadot.com              $50.00          0
watchclips.net              2018/05/24 02:41 IST   2016/05/24 02:41 IST   privacy@dynadot.com              $30.00          0
vodly.org                   2018/05/24 12:44 IST   2017/05/24 12:44 IST   mohammadhusein91@gmail.com       $30.00          0
vodly.me                    2018/05/24 12:44 IST   2017/05/24 12:44 IST   mohammadhusein91@gmail.com       $20.00          0
phonerepairorlando.com      2018/05/25 20:25 IST   2014/05/25 20:25 IST   privacy@dynadot.com          $10,000.00   $600.00
amcseries.com               2018/05/25 23:50 IST   2017/05/25 23:50 IST   privacy@dynadot.com            $200.00           0
megashare.ag                2018/05/27 02:58 IST   2014/05/27 02:58 IST   privacy@dynadot.com           $1,000.00   $100.00
hassassination.com          2018/05/29 11:28 IST   2016/05/29 11:28 IST   privacy@dynadot.com              $20.00          0
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telechargement‐zone.co          2018/05/30 05:29 IST   2017/05/30 06:05 IST   mohammadhusein91@gmail.com          $20.00             0
animestreams.co                 2018/05/30 05:29 IST   2017/05/30 06:05 IST   mohammadhusein91@gmail.com          $20.00             0
moviewatcher.org                2018/05/30 06:05 IST   2017/05/30 06:05 IST   mohammadhusein91@gmail.com          $20.00             0
fimrcutsa.com                   2018/05/30 06:05 IST   2017/05/30 06:05 IST   mohammadhusein91@gmail.com        $100.00              0
123moviesfreez.co               2018/05/31 05:29 IST   2017/05/31 05:52 IST   mohammadhusein91@gmail.com          $20.00             0
hdonline.info                   2018/05/31 15:44 IST   2017/05/31 15:44 IST   privacy@dynadot.com                 $20.00             0
vegabondcouple.com              2018/05/31 16:48 IST   2017/05/31 16:48 IST   mohammadhusein91@gmail.com          $20.00             0
travelboundcouple.com           2018/06/01 06:59 IST   2017/06/01 06:59 IST   mohammadhusein91@gmail.com        $200.00              0
xputlocker.com                  2018/06/04 09:10 IST   2015/06/04 09:10 IST   privacy@dynadot.com                 $20.00             0
vmoneybuyshouses.com            2018/06/06 01:12 IST   2017/06/06 01:12 IST   mohammadhusein91@gmail.com        $400.00              0
eventcobra.com                  2018/06/06 02:32 IST   2017/06/06 02:32 IST   mohammadhusein91@gmail.com          $20.00             0
soul‐anime.co                   2018/06/09 05:29 IST   2017/06/09 23:32 IST   privacy@dynadot.com                 $20.00             0
revenuethemes.com               2018/06/09 11:51 IST   2017/06/09 11:51 IST   privacy@dynadot.com               $200.00              0
tunemovietube.com               2018/06/13 10:13 IST   2015/06/13 10:13 IST   privacy@dynadot.com                 $20.00             0
trycrispy.com                   2018/06/13 11:49 IST   2017/06/13 11:49 IST   mohammadhusein91@gmail.com          $20.00             0
sellmyhomefastsatx.com          2018/06/14 00:17 IST   2017/06/14 00:17 IST   mohammadhusein91@gmail.com        $400.00              0
realestatebytheshare.com        2018/06/14 19:38 IST   2017/06/14 19:38 IST   mohammadhusein91@gmail.com          $20.00             0
putlocker9.co                   2018/06/19 05:29 IST   2015/06/20 03:29 IST   privacy@dynadot.com                 $20.00             0
usaglam.com                     2018/06/19 21:07 IST   2017/06/19 21:07 IST   mohammadhusein91@gmail.com          $20.00             0
fabulousnailsalon.com           2018/06/20 10:21 IST   2017/06/20 10:21 IST   mohammadhusein91@gmail.com          $20.00             0
proofleads.com                  2018/06/21 09:39 IST   2017/06/21 09:39 IST   privacy@dynadot.com             $20,000.00     $800.00
fmovies.tube                    2018/06/24 02:24 IST   2017/06/24 02:24 IST   mohammadhusein91@gmail.com          $20.00             0
stopcopyright.com               2018/06/24 18:46 IST   2016/06/24 18:46 IST   privacy@dynadot.com              $5,500.00             0
123movies.co                    2018/06/25 05:29 IST   2017/02/26 01:12 IST   privacy@dynadot.com          $2,200,000.00   $45,000.00
cineblog.co                     2018/06/27 05:29 IST   2015/06/28 02:11 IST   privacy@dynadot.com               $300.00              0
0123movies.co                   2018/06/27 05:29 IST   2017/06/28 03:45 IST   mohammadhusein91@gmail.com        $100.00              0
123‐movies.org                  2018/06/28 03:45 IST   2017/06/28 03:45 IST   mohammadhusein91@gmail.com          $20.00             0
couchtuner.info                 2018/06/28 03:45 IST   2015/06/28 03:45 IST   privacy@dynadot.com               $200.00              0
hairbraidingsanantonio.com      2018/06/29 01:40 IST   2011/06/29 01:40 IST   mohammadhusein91@gmail.com        $600.00              0
123‐movies.tv                   2018/06/30 12:03 IST   2016/06/30 12:03 IST   mohammadhusein91@gmail.com          $20.00             0
adsgur.com                      2018/07/01 04:31 IST   2015/07/01 04:31 IST   privacy@dynadot.com              $2,000.00       $10.00
isputlocker.co                  2018/07/01 05:29 IST   2017/07/01 18:08 IST   privacy@dynadot.com                 $20.00             0
notfamousjustrich.com           2018/07/01 09:46 IST   2017/07/01 09:46 IST   privacy@dynadot.com                 $50.00             0
putlocker6.com                  2018/07/01 18:05 IST   2015/07/01 18:05 IST   mohammadhusein91@gmail.com          $20.00             0
isputlocker.net                 2018/07/01 18:08 IST   2017/07/01 18:08 IST   privacy@dynadot.com                 $20.00             0
isputlocker.org                 2018/07/01 18:08 IST   2017/07/01 18:08 IST   privacy@dynadot.com                 $20.00             0
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putlockernew.com            2018/07/02 00:03 IST   2016/07/02 00:03 IST   privacy@dynadot.com               $20.00           0
sellyourhousecash.co        2018/07/03 05:29 IST   2017/07/03 21:09 IST   mohammadhusein91@gmail.com        $20.00           0
instasage.com               2018/07/08 15:29 IST   2017/07/08 15:29 IST   privacy@dynadot.com               $20.00           0
stevihairbraiding.com       2018/07/09 00:15 IST   2017/07/09 00:15 IST   mohammadhusein91@gmail.com     $3,000.00    $100.00
go‐stream.co                2018/07/11 05:29 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
123gostream.co              2018/07/11 05:29 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreamfree.co             2018/07/11 05:29 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreams.co                2018/07/11 05:29 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com      $100.00            0
gostream2.co                2018/07/11 05:29 IST   2017/07/12 02:30 IST   mohammadhusein91@gmail.com        $20.00           0
gostreamhd.co               2018/07/11 05:29 IST   2017/07/12 03:52 IST   mohammadhusein91@gmail.com        $20.00           0
streamgo.co                 2018/07/11 05:29 IST   2017/07/12 03:56 IST   mohammadhusein91@gmail.com        $20.00           0
go‐stream.org               2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
go‐stream.tv                2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
123gostream.com             2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
123gostream.net             2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
123gostream.org             2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreamfree.com            2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreamfree.net            2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreamfree.org            2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostreams.org               2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostream.ag                 2018/07/12 00:49 IST   2017/07/12 00:49 IST   mohammadhusein91@gmail.com        $20.00           0
gostream2.com               2018/07/12 02:30 IST   2017/07/12 02:30 IST   mohammadhusein91@gmail.com        $20.00           0
gostream2.net               2018/07/12 02:30 IST   2017/07/12 02:30 IST   mohammadhusein91@gmail.com        $20.00           0
gostream9.com               2018/07/12 03:56 IST   2017/07/12 03:56 IST   mohammadhusein91@gmail.com        $20.00           0
mangafox.org                2018/07/12 20:00 IST   2014/06/14 20:00 IST   mohammadhusein91@gmail.com      $200.00            0
apleno.com                  2018/07/13 05:07 IST   2017/07/13 05:07 IST   mohammadhusein91@gmail.com        $20.00           0
xpau.co                     2018/07/15 05:29 IST   2017/07/15 06:40 IST   mohammadhusein91@gmail.com        $20.00           0
xpau.org                    2018/07/15 06:40 IST   2017/07/15 06:40 IST   mohammadhusein91@gmail.com        $20.00           0
martialartsinchina.com      2018/07/16 19:37 IST   2016/07/16 19:37 IST   mohammadhusein91@gmail.com      $100.00            0
rtob.org                    2018/07/16 20:00 IST   2015/07/16 20:00 IST   mohammadhusein91@gmail.com        $20.00           0
followleads.com             2018/07/19 12:56 IST   2017/07/19 12:56 IST   mohammadhusein91@gmail.com        $20.00           0
solar‐movies.co             2018/07/22 05:29 IST   2016/07/22 20:51 IST   mohammadhusein91@gmail.com        $20.00           0
4simplicity.com             2018/08/03 23:37 IST   2017/08/03 23:37 IST   mohammadhusein91@gmail.com        $20.00           0
solarmoviess.com            2018/08/04 15:52 IST   2016/08/04 15:52 IST   mohammadhusein91@gmail.com        $20.00           0
123movies.sx                2018/08/07 05:54 IST   2016/08/07 05:54 IST   mohammadhusein91@gmail.com      $100.00            0
123movies.plus              2018/08/07 05:54 IST   2016/08/07 05:54 IST   privacy@dynadot.com          $100,000.00   $4,000.00
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bivifinder.com                 2018/08/07 13:57 IST   2015/08/07 13:57 IST   mohammadhusein91@gmail.com      $20.00   $0.00
abdulmukati.com                2018/08/08 22:56 IST   2013/08/08 22:56 IST   mohammadhusein91@gmail.com   $1,000.00        0
drmukati.com                   2018/08/08 23:05 IST   2013/08/08 23:05 IST   mohammadhusein91@gmail.com      $20.00        0
jaboz.com                      2018/08/10 00:01 IST   2015/08/10 00:01 IST   mohammadhusein91@gmail.com      $40.00        0
pokemato.com                   2018/08/10 23:33 IST   2014/08/10 23:33 IST   mohammadhusein91@gmail.com    $100.00         0
7figureboyz.com                2018/08/14 22:04 IST   2017/08/14 22:04 IST   mohammadhusein91@gmail.com      $20.00        0
7figureboys.com                2018/08/14 22:04 IST   2017/08/14 22:04 IST   mohammadhusein91@gmail.com      $20.00        0
yesmovies.co                   2018/08/15 05:29 IST   2016/08/16 02:31 IST   mohammadhusein91@gmail.com      $20.00        0
yesmovies.ws                   2018/08/16 02:31 IST   2016/08/16 02:31 IST   mohammadhusein91@gmail.com      $20.00        0
fmovies.ws                     2018/08/16 02:33 IST   2016/08/16 02:33 IST   mohammadhusein91@gmail.com      $20.00        0
yesmovies.pro                  2018/08/16 02:56 IST   2016/08/16 02:56 IST   mohammadhusein91@gmail.com      $20.00        0
ocprogressive.com              2018/08/16 16:06 IST   2015/08/16 16:06 IST   mohammadhusein91@gmail.com      $20.00        0
gostream.guru                  2018/08/19 01:49 IST   2017/08/19 01:49 IST   privacy@dynadot.com             $20.00        0
amcoresecurity.com             2018/08/19 04:28 IST   2017/08/19 04:28 IST   privacy@dynadot.com             $20.00        0
amcoresecuritygroup.com        2018/08/19 04:28 IST   2017/08/19 04:28 IST   privacy@dynadot.com             $20.00        0
iphonerepairfast.com           2018/08/19 06:50 IST   2016/08/19 06:50 IST   mohammadhusein91@gmail.com      $20.00        0
f‐movies.co                    2018/08/22 05:29 IST   2016/08/23 02:55 IST   mohammadhusein91@gmail.com      $20.00        0
docternclinic.com              2018/08/24 23:12 IST   2017/08/24 23:12 IST   mohammadhusein91@gmail.com      $20.00        0
docternclinic.org              2018/08/24 23:12 IST   2017/08/24 23:12 IST   mohammadhusein91@gmail.com      $20.00        0
watchseries.us                 2018/08/27 05:29 IST   2017/08/27 10:35 IST   mohammadhusein91@gmail.com    $100.00         0
voulu.net                      2018/08/28 08:41 IST   2017/08/28 08:41 IST   privacy@dynadot.com             $20.00        0
spencerrenovationsinc.com      2018/08/28 19:30 IST   2016/08/28 19:30 IST   mohammadhusein91@gmail.com      $20.00        0
voulu.store                    2018/08/29 05:29 IST   2017/08/28 08:41 IST   privacy@dynadot.com             $20.00        0
exactnetworth.com              2018/08/30 01:22 IST   2015/08/30 01:22 IST   mohammadhusein91@gmail.com      $20.00        0
networth.top                   2018/08/30 01:22 IST   2015/08/30 01:22 IST   mohammadhusein91@gmail.com      $20.00        0
putlocker.online               2018/08/30 05:29 IST   2015/08/29 23:50 IST   mohammadhusein91@gmail.com    $100.00         0
megashare.online               2018/08/30 05:29 IST   2015/08/29 23:50 IST   mohammadhusein91@gmail.com    $100.00         0
couchtuner.online              2018/08/31 05:29 IST   2015/08/30 06:32 IST   mohammadhusein91@gmail.com      $20.00        0
1movie.co                      2018/09/01 05:29 IST   2017/09/01 19:15 IST   mohammadhusein91@gmail.com      $20.00        0
123torrent.co                  2018/09/01 05:29 IST   2017/09/01 19:15 IST   mohammadhusein91@gmail.com      $20.00        0
putlocker.name                 2018/09/02 21:35 IST   2015/09/02 21:35 IST   mohammadhusein91@gmail.com    $100.00         0
thetrueinvestor.com            2018/09/03 02:04 IST   2017/09/03 02:04 IST   privacy@dynadot.com             $20.00        0
nomhaan.com                    2018/09/03 07:36 IST   2017/09/03 07:36 IST   mohammadhusein91@gmail.com      $20.00        0
niter.online                   2018/09/05 05:29 IST   2016/09/04 11:24 IST   mohammadhusein91@gmail.com      $20.00        0
open‐load.com                  2018/09/06 20:50 IST   2016/09/06 20:50 IST   mohammadhusein91@gmail.com      $20.00        0
yiblrsanantonio.com            2018/09/07 01:49 IST   2016/09/07 01:49 IST   mohammadhusein91@gmail.com    $100.00         0
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watchfullmovie.tv                 2018/09/07 05:26 IST   2015/09/07 05:26 IST   mohammadhusein91@gmail.com      $20.00          0
goseries.co                       2018/09/07 05:29 IST   2017/09/07 22:53 IST   privacy@dynadot.com             $20.00          0
ewatchseries.co                   2018/09/07 05:29 IST   2017/09/08 03:37 IST   privacy@dynadot.com             $20.00          0
xyzseries.co                      2018/09/07 05:29 IST   2017/09/08 05:13 IST   privacy@dynadot.com             $20.00          0
ewatchseries.org                  2018/09/08 03:37 IST   2017/09/08 03:37 IST   privacy@dynadot.com             $20.00          0
xyzseries.com                     2018/09/08 05:13 IST   2017/09/08 05:13 IST   privacy@dynadot.com             $20.00          0
xyzseries.net                     2018/09/08 05:13 IST   2017/09/08 05:13 IST   privacy@dynadot.com             $20.00          0
xyzseries.org                     2018/09/08 05:13 IST   2017/09/08 05:13 IST   privacy@dynadot.com             $20.00          0
oxyvo.com                         2018/09/08 09:28 IST   2017/09/08 09:28 IST   privacy@dynadot.com           $100.00           0
200shirts.com                     2018/09/09 11:36 IST   2017/09/09 11:36 IST   mohammadhusein91@gmail.com    $100.00           0
mehransa.com                      2018/09/12 03:57 IST   2015/09/12 03:57 IST   mohammadhusein91@gmail.com   $4,000.00   $300.00
putlockertube.com                 2018/09/12 07:30 IST   2015/09/12 07:30 IST   mohammadhusein91@gmail.com      $20.00          0
putlockern.com                    2018/09/12 07:30 IST   2015/09/12 07:30 IST   mohammadhusein91@gmail.com      $20.00          0
megashare6.com                    2018/09/12 07:30 IST   2015/09/12 07:30 IST   mohammadhusein91@gmail.com      $20.00          0
putlockerr.com                    2018/09/12 07:30 IST   2015/09/12 07:30 IST   mohammadhusein91@gmail.com      $20.00          0
uwatchseries.com                  2018/09/13 23:44 IST   2017/09/13 23:44 IST   privacy@dynadot.com             $20.00          0
moviecomb.com                     2018/09/15 07:30 IST   2015/09/15 07:30 IST   mohammadhusein91@gmail.com      $20.00          0
ironicfarooqi.com                 2018/09/16 03:55 IST   2016/09/16 03:55 IST   mohammadhusein91@gmail.com      $20.00          0
cxmovies.co                       2018/09/17 05:29 IST   2017/09/17 06:23 IST   privacy@dynadot.com             $20.00          0
managehosts.com                   2018/09/18 02:38 IST   2017/09/18 02:38 IST   privacy@dynadot.com             $20.00          0
putlockershows.com                2018/09/20 23:54 IST   2016/09/20 23:54 IST   mohammadhusein91@gmail.com      $20.00          0
oevo.co                           2018/09/21 05:29 IST   2017/09/22 01:59 IST   privacy@dynadot.com          $1,000.00          0
virgohairbraiding.com             2018/09/21 06:24 IST   2016/09/21 06:24 IST   mohammadhusein91@gmail.com   $3,000.00   $150.00
minemytraffic.com                 2018/09/21 09:01 IST   2017/09/21 09:01 IST   privacy@dynadot.com           $100.00           0
saharamediterraneangrill.com      2018/09/22 00:22 IST   2016/09/22 00:22 IST   privacy@dynadot.com             $25.00          0
saharagrillsa.com                 2018/09/22 00:22 IST   2016/09/22 00:22 IST   privacy@dynadot.com          $2,500.00   $100.00
webwestdesign.com                 2018/09/22 21:37 IST   2017/09/22 21:37 IST   mohammadhusein91@gmail.com      $20.00          0
rahmanimasjid.com                 2018/09/23 07:37 IST   2016/09/23 07:37 IST   mohammadhusein91@gmail.com      $20.00          0
successfultrucking.com            2018/09/26 23:04 IST   2016/09/26 23:04 IST   mohammadhusein91@gmail.com    $100.00           0
putlocker.life                    2018/09/27 06:53 IST   2016/09/27 06:53 IST   mohammadhusein91@gmail.com      $20.00          0
collegeconfirmed.com              2018/09/27 06:53 IST   2016/09/27 06:53 IST   privacy@dynadot.com             $20.00          0
putlocker.mx                      2018/09/27 06:54 IST   2014/09/27 06:54 IST   mohammadhusein91@gmail.com      $20.00          0
yibler.com                        2018/09/28 07:18 IST   2015/09/28 07:18 IST   mohammadhusein91@gmail.com      $20.00          0
putstream.co                      2018/10/02 05:29 IST   2017/10/02 08:23 IST   privacy@dynadot.com             $20.00          0
123movies.uno                     2018/10/02 07:18 IST   2017/10/02 07:18 IST   mohammadhusein91@gmail.com    $100.00           0
putstream.org                     2018/10/02 08:23 IST   2017/10/02 08:23 IST   privacy@dynadot.com             $20.00          0
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putstream.tv                   2018/10/02 08:23 IST   2017/10/02 08:23 IST   privacy@dynadot.com              $20.00           0
putstream.io                   2018/10/02 08:23 IST   2017/10/02 08:23 IST   privacy@dynadot.com              $20.00           0
solarmovie.uno                 2018/10/02 08:36 IST   2017/10/02 08:36 IST   privacy@dynadot.com              $20.00           0
putstream.me                   2018/10/02 17:01 IST   2017/10/02 17:01 IST   privacy@dynadot.com              $20.00           0
put‐stream.co                  2018/10/03 05:29 IST   2017/10/03 23:55 IST   mohammadhusein91@gmail.com       $20.00           0
pacmovies.co                   2018/10/03 05:29 IST   2017/10/03 23:55 IST   privacy@dynadot.com              $20.00           0
acsrtx.org                     2018/10/03 09:17 IST   2017/10/03 09:17 IST   mohammadhusein91@gmail.com       $20.00           0
put‐stream.com                 2018/10/03 23:55 IST   2017/10/03 23:55 IST   mohammadhusein91@gmail.com       $20.00           0
pacmovies.net                  2018/10/03 23:55 IST   2017/10/03 23:55 IST   privacy@dynadot.com              $20.00           0
pacmovies.org                  2018/10/03 23:55 IST   2017/10/03 23:55 IST   privacy@dynadot.com              $20.00           0
ktafricanhair.com              2018/10/04 00:48 IST   2016/10/04 00:48 IST   mohammadhusein91@gmail.com    $3,000.00           0
africanhairsanantonio.com      2018/10/04 00:48 IST   2016/10/04 00:48 IST   mohammadhusein91@gmail.com       $20.00           0
watch5s.co                     2018/10/05 05:29 IST   2016/10/05 19:53 IST   mohammadhusein91@gmail.com       $20.00           0
watch5s.net                    2018/10/05 19:53 IST   2016/10/05 19:53 IST   mohammadhusein91@gmail.com       $20.00           0
cmovies.co                     2018/10/06 05:29 IST   2017/10/06 23:31 IST   privacy@dynadot.com              $20.00           0
phonerepaironwheels.com        2018/10/06 09:45 IST   2017/10/06 09:45 IST   privacy@dynadot.com              $20.00           0
anywhererepairs.com            2018/10/06 09:53 IST   2017/10/06 09:53 IST   mohammadhusein91@gmail.com       $20.00           0
homebuildersa.com              2018/10/08 02:48 IST   2017/10/08 02:48 IST   mohammadhusein91@gmail.com       $20.00           0
homeconstructionsa.com         2018/10/08 02:48 IST   2017/10/08 02:48 IST   mohammadhusein91@gmail.com       $20.00           0
kitchenremodelsa.com           2018/10/08 02:48 IST   2017/10/08 02:48 IST   mohammadhusein91@gmail.com       $20.00           0
customhomessa.com              2018/10/08 02:48 IST   2017/10/08 02:48 IST   mohammadhusein91@gmail.com       $20.00           0
123movies‐hd.com               2018/10/10 01:10 IST   2017/10/10 01:10 IST   privacy@dynadot.com              $20.00           0
jiblr.com                      2018/10/10 09:11 IST   2014/10/10 09:11 IST   mohammadhusein91@gmail.com     $200.00            0
yiblr.com                      2018/10/10 09:17 IST   2014/10/10 09:17 IST   privacy@dynadot.com          $50,000.00   $3,500.00
coinhive.co                    2018/10/11 05:29 IST   2017/10/11 23:30 IST   privacy@dynadot.com              $20.00           0
123fmovies.ac                  2018/10/12 04:49 IST   2017/10/12 04:49 IST   privacy@dynadot.com              $20.00           0
123fmovies.org                 2018/10/12 04:49 IST   2017/10/12 04:49 IST   privacy@dynadot.com              $20.00           0
123fmovies.io                  2018/10/12 04:49 IST   2017/10/12 04:49 IST   privacy@dynadot.com              $20.00           0
watchanime.co                  2018/10/13 05:29 IST   2016/10/13 19:35 IST   mohammadhusein91@gmail.com     $200.00            0
abcmovies.co                   2018/10/14 05:29 IST   2017/10/14 23:30 IST   privacy@dynadot.com            $200.00            0
mputlocker.com                 2018/10/16 23:44 IST   2016/10/16 23:44 IST   mohammadhusein91@gmail.com       $20.00           0
solarmovie.online              2018/10/17 05:29 IST   2015/10/16 22:57 IST   mohammadhusein91@gmail.com       $20.00           0
dreadlockssanantonio.com       2018/10/20 00:35 IST   2016/10/20 00:35 IST   mohammadhusein91@gmail.com    $4,000.00    $200.00
premiersolutionsus.com         2018/10/21 01:51 IST   2017/10/21 01:51 IST   privacy@dynadot.com              $20.00           0
texasandtea.com                2018/10/22 14:01 IST   2017/10/22 14:01 IST   privacy@dynadot.com              $20.00           0
123projectfreetv.com           2018/10/23 14:38 IST   2017/10/23 14:38 IST   mohammadhusein91@gmail.com     $200.00            0
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backlinkpro.com                        2018/10/24 23:32 IST   2015/10/24 23:32 IST   privacy@dynadot.com          $1,000.00   0
companyseoservice.com                  2018/10/24 23:46 IST   2015/10/24 23:46 IST   privacy@dynadot.com             $20.00   0
fmlipsticks.com                        2018/10/25 03:15 IST   2015/10/25 03:15 IST   mohammadhusein91@gmail.com      $20.00   0
brattygal.com                          2018/10/25 04:34 IST   2017/10/25 04:34 IST   privacy@dynadot.com             $20.00   0
hijabigals.com                         2018/10/25 23:23 IST   2017/10/25 23:23 IST   privacy@dynadot.com             $20.00   0
epifilm.com                            2018/10/25 23:45 IST   2017/10/25 23:45 IST   privacy@dynadot.com             $20.00   0
seowebsiterank.com                     2018/10/25 23:58 IST   2015/10/25 23:58 IST   privacy@dynadot.com             $20.00   0
kissanime.ag                           2018/10/28 00:05 IST   2017/10/28 00:05 IST   privacy@dynadot.com             $20.00   0
downvideo.co                           2018/10/28 05:29 IST   2017/10/28 08:36 IST   privacy@dynadot.com             $20.00   0
fbvideo.co                             2018/10/28 05:29 IST   2017/10/28 08:36 IST   privacy@dynadot.com             $20.00   0
keepvideo.co                           2018/10/28 05:29 IST   2017/10/28 08:36 IST   privacy@dynadot.com             $20.00   0
monitorstats.com                       2018/10/28 11:05 IST   2015/10/28 11:05 IST   privacy@dynadot.com          $1,000.00   0
seobp.com                              2018/10/31 02:39 IST   2015/10/31 02:39 IST   mohammadhusein91@gmail.com      $20.00   0
putlive.co                             2018/11/01 05:29 IST   2016/11/01 11:02 IST   mohammadhusein91@gmail.com      $20.00   0
solarmovie2.com                        2018/11/01 10:18 IST   2014/11/01 10:18 IST   privacy@dynadot.com             $20.00   0
oevoapp.com                            2018/11/01 10:25 IST   2017/11/01 10:25 IST   privacy@dynadot.com             $20.00   0
putchannel.com                         2018/11/01 11:02 IST   2016/11/01 11:02 IST   privacy@dynadot.com             $20.00   0
africanhairbraidingsanantonio.com      2018/11/02 01:17 IST   2016/11/02 01:17 IST   mohammadhusein91@gmail.com      $20.00   0
braidingsanantonio.com                 2018/11/02 02:52 IST   2016/11/02 02:52 IST   mohammadhusein91@gmail.com      $20.00   0
lowcus.com                             2018/11/03 22:22 IST   2016/11/03 22:22 IST   mohammadhusein91@gmail.com      $20.00   0
putlocker.lc                           2018/11/06 09:18 IST   2015/11/06 09:18 IST   mohammadhusein91@gmail.com      $20.00   0
icouchtuner.co                         2018/11/07 05:29 IST   2017/11/07 10:38 IST   privacy@dynadot.com             $20.00   0
drschaudhry.com                        2018/11/07 05:41 IST   2016/11/07 05:41 IST   mohammadhusein91@gmail.com      $20.00   0
drsuhailchaudhry.com                   2018/11/07 05:41 IST   2016/11/07 05:41 IST   mohammadhusein91@gmail.com      $20.00   0
kagza.com                              2018/11/09 02:33 IST   2014/11/09 02:33 IST   mohammadhusein91@gmail.com      $20.00   0
123putlockers.co                       2018/11/09 05:29 IST   2017/11/09 22:18 IST   mohammadhusein91@gmail.com      $20.00   0
vapingtolive.com                       2018/11/09 08:58 IST   2016/11/09 08:58 IST   mohammadhusein91@gmail.com      $20.00   0
bmoviesfree.co                         2018/11/11 05:29 IST   2017/11/11 05:48 IST   privacy@dynadot.com             $20.00   0
bmovies.plus                           2018/11/11 05:45 IST   2017/11/11 05:45 IST   privacy@dynadot.com             $20.00   0
bmovies.one                            2018/11/11 05:45 IST   2017/11/11 05:45 IST   privacy@dynadot.com             $20.00   0
123bmovies.com                         2018/11/11 05:45 IST   2017/11/11 05:45 IST   privacy@dynadot.com             $20.00   0
bmoviess.org                           2018/11/11 05:48 IST   2017/11/11 05:48 IST   privacy@dynadot.com             $20.00   0
project‐free.tv                        2018/11/11 13:20 IST   2012/11/11 13:20 IST   mohammadhusein91@gmail.com      $20.00   0
putlocker9.info                        2018/11/14 15:36 IST   2016/11/14 15:36 IST   mohammadhusein91@gmail.com      $20.00   0
123movieson.co                         2018/11/15 09:33 IST   2017/11/15 09:33 IST   privacy@dynadot.com             $20.00   0
123movieson.net                        2018/11/15 09:33 IST   2017/11/15 09:33 IST   privacy@dynadot.com             $20.00   0
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123movies9.com             2018/11/15 10:03 IST   2016/11/15 10:03 IST   mohammadhusein91@gmail.com        $20.00            0
123moviestv.com            2018/11/15 10:03 IST   2016/11/15 10:03 IST   privacy@dynadot.com          $200,000.00    $9,000.00
123moviespro.me            2018/11/15 21:01 IST   2017/11/15 21:01 IST   mohammadhusein91@gmail.com      $200.00             0
123moviespro.co            2018/11/15 21:01 IST   2017/11/15 21:01 IST   mohammadhusein91@gmail.com      $200.00             0
123moviespro.net           2018/11/15 21:01 IST   2017/11/15 21:01 IST   mohammadhusein91@gmail.com      $200.00             0
bmovies.la                 2018/11/18 05:29 IST   2017/11/17 12:48 IST   privacy@dynadot.com               $40.00            0
phohalong.com              2018/11/18 21:43 IST   2017/11/18 21:43 IST   privacy@dynadot.com               $20.00            0
putmusic.com               2018/11/21 10:35 IST   2015/11/21 10:35 IST   mohammadhusein91@gmail.com        $40.00            0
putvid.com                 2018/11/21 23:28 IST   2014/11/21 23:28 IST   mohammadhusein91@gmail.com        $40.00            0
vidushare.com              2018/11/21 23:28 IST   2014/11/21 23:28 IST   mohammadhusein91@gmail.com        $20.00            0
couchtuner2.com            2018/11/30 08:57 IST   2015/11/30 08:57 IST   mohammadhusein91@gmail.com    $10,000.00    $1,500.00
putlocker9.com             2018/12/24 13:20 IST   2014/12/24 13:20 IST   privacy@dynadot.com          $150,000.00    $7,500.00
putstream.com              2019/01/02 00:55 IST   2014/01/02 00:55 IST   privacy@dynadot.com          $400,000.00   $30,000.00
carteretlocalfood.org      2021/09/14 22:24 IST   2017/09/14 22:24 IST   mohammadhusein91@gmail.com        $40.00            0
lgor.com                   2025/11/29 00:46 IST   2017/11/29 00:46 IST   privacy@dynadot.com            $1,500.00            0
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                    Exhibit 2
REDACTED
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REDACTED




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REDACTED
